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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 BRYAN TORR                                   §
                                              §
        Plaintiff,                            §
                                              §
 vs.                                          §             CIVIL ACTION NO. 4:18-cv-02908
                                              §
 ROWAN COMPANIES, INC.                        §
                                              §
        Defendant.                            §
                                              §

                     JOINT DISCOVERY/CASE MANAGEMENT PLAN

1.     State where and when the meeting of the parties required by Rule 26(f) was held, and
       identify the counsel who attended for each party.

       The parties conferred by email on September 21 and 22, 2018 and by telephone and email
       on September 24, 2018. H. Julian Frachtman participated for Plaintiff and Virginia Mixon
       Swindell participated for Defendant.

2.     List the cases related to this one that are pending in any state or federal court with
       the case number and court.

       None.

3.     Briefly describe what this case is about.

       This is an employment discrimination case. Plaintiff brings claims of disability
       discrimination under the Americans with Disabilities Act (“ADA”) and the Texas Labor
       Code. Plaintiff anticipates seeking Defendant’s consent and/or the Court’s leave to amend
       the complaint to assert a Family and Medical Leave Act (“FMLA”) claim. Defendant
       denies all of Plaintiff’s allegations, and denies it violated the ADA, the Texas Labor Code,
       the FMLA or any other law.

4.     Specify the allegation of federal jurisdiction.

       The Court has federal question jurisdiction since Plaintiff's claims arise under a federal
       statute, the ADA, and supplemental jurisdiction over Plaintiff’s Texas Labor Code claims.

5.     Identify the parties who disagree and the reasons.

       None.
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6.    List anticipated additional parties that should be included, when they can be added,
      and by whom they are wanted.

      None.

7.    List anticipated interventions.

      None.

8.    Describe class-action or collective-action issues.

      None.

9.    State whether each party represents that it has made the initial disclosures required
      by Rule 26(a). If not, describe the arrangements that have been made to complete the
      disclosures.

      The parties agree to exchange initial disclosures pursuant to the Court’s Pilot Program for
      Initial Discovery Protocols for Employment Cases Alleging Adverse Action on or before
      October 26, 2018.

10.   Describe the proposed agreed discovery plan, including:

      A.       Responses to all of the matters raised in Rule 26(f), including any agreements
               reached concerning electronic discovery and any disputed issues relating to
               electronic discovery.

           (1) The parties agree to exchange initial disclosures pursuant to the Court’s Pilot
               Program for Initial Discovery Protocols for Employment Cases Alleging Adverse
               Action on or before October 26, 2018. The parties believe that discovery otherwise
               should proceed as provided under the Federal Rules of Civil Procedure and the
               Local Rules for the Southern District of Texas, Houston Division.
           (2) Generally, the parties believe that the subjects on which discovery will be needed
               include Plaintiff’s employment with Defendant, including his job duties,
               compensation, job performance, the reasons for all employment decisions made
               with respect to Plaintiff, including all requests for accommodation, if any, and the
               termination decision; Plaintiff’s requests for leave, if any, and Defendant’s
               responses thereto; Plaintiff’s subsequent efforts to find alternative employment;
               and other information related to Plaintiff’s claims and Defendant’s defenses.
           (3) To the extent electronically stored information (“ESI”) is discoverable, the parties
               agree to make initial production of relevant and responsive ESI in hard copy or soft
               copy image files (e.g., PDF). After initial production, the parties will confer
               regarding any particularized need for production of any specific ESI in another
               format. The parties will attempt, in good faith, to resolve any disputes regarding
               production of ESI, but the parties reserve the right to seek the Court’s intervention
               to determine which party shall bear the cost of producing ESI in a particular format.

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         The parties hereby request entry of a claw-back order under Federal Rule of
         Evidence 502(d) to protect attorney-client and work product protected
         communications.
     (4) The parties intend to request entry of a protective order, based on the model
         protective order included with the Initial Discovery Protocols for Employment
         Cases Alleging Adverse Action. Otherwise, the parties are not aware of any issues
         about claims of privilege or of protection as trial-preparation materials but agree
         that prior to seeking the Court’s intervention in any dispute as might arise, the
         parties will attempt, in good faith, to resolve such disputes.
     (5) The parties do not believe any changes should be made in the limitations on
         discovery imposed by the Federal Rules of Civil Procedure or the Local Rules for
         the Southern District of Texas, Houston Division.
B.       When and to whom the plaintiff anticipates it may send interrogatories.

         Plaintiff anticipates sending interrogatories to Defendant before the discovery
         deadline.

C.       When and to whom the defendant anticipates it may send interrogatories.

         Defendant anticipates sending interrogatories to Plaintiff before the discovery
         deadline.

D.       Of whom and by when the plaintiff anticipates taking oral depositions.

         Plaintiff does not anticipate taking depositions at this time.

E.       Of whom and by when the defendant anticipates taking oral depositions.

         Defendant anticipates taking Plaintiff’s deposition before the discovery deadline.
         Defendant may depose other individuals who are identified in discovery before the
         discovery deadline. Plaintiff will be deposed first in time.

F.       When the plaintiff (or the party with the burden of proof on an issue) will be
         able to designate experts and provide the reports required by Rule 26(a)(2)(B),
         and when the opposing party will be able to designate responsive experts and
         provide their reports.

         Plaintiff will designate experts and provide expert reports by February 15, 2019.
         Defendant will be able to designate responsive experts and provide expert reports
         45 days after Plaintiff’s expert designation and report deadline.

G.       List expert depositions that the plaintiff (or the party with the burden of proof
         on an issue) anticipates taking, and their anticipated completion date. See Rule
         26(a)(2)(B) (expert report).



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              Plaintiff does not anticipate taking expert depositions at this time.

      H.      List expert depositions that the opposing party anticipates taking, and their
              anticipated completion date. See Rule 26(a)(2)(B) (expert report).

              Defendant may depose experts designated by Plaintiff by the discovery deadline.

      I.      In a case involving parties that are unincorporated entities, such as an LLC or
              LLP, state the citizenship of every member and file an affidavit or declaration
              setting out the citizenship of every member.

              Not applicable.

11.   If the parties are not agreed on a part of the discovery plan, describe the separate
      views and proposals of each party.

      The parties are in agreement.

12.   Specify the discovery beyond initial disclosures that has been undertaken to date.

      None.

13.   State the date the planned discovery can reasonably be completed.

      July 1, 2019.

14.   Describe the possibilities for a prompt settlement or resolution of the case that were
      discussed in the Rule 26(f) meeting.

      The parties agree to consider engaging in settlement negotiations and/or mediation after
      sufficient discovery has been completed.

15.   From the attorneys’ discussion with the client, state the alternative dispute resolution
      techniques that are reasonably suitable, and state when such a technique may be
      effectively used in this case.

      The parties agree to evaluate whether mediation may be appropriate after sufficient
      discovery has been completed.

16.   Magistrate judges may now hear jury and non-jury trials. Indicate the parties' joint
      position on a trial before a magistrate judge.

      The parties do not consent to trial before the magistrate judge.




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17.   State whether a jury demand has been made and whether it was made on time.

      A jury was requested by Plaintiff in the Original Petition filed in state court.

18.   Specify the number of hours that it will likely take to present the evidence in this case.

      The parties anticipate 20 hours will be needed to present the evidence in this case.

19.   List pending motions that can be resolved at the initial pretrial and scheduling
      conference.

      None.

20.   List other pending motions.

      None pending. Plaintiff anticipates seeking Defendant’s consent and/or the Court’s leave
      to amend the Complaint to assert claims under the FMLA.

21.   List issues or matters, including discovery, that should be addressed at the conference.

      None.

22.   Certify that all parties have filed the Disclosure of Interested Persons, as directed in
      the Order for Conference and Disclosure of Interested Persons, listing the date of
      filing for original and any amendments.

      Plaintiff’s Disclosure of Interested Parties will be filed before the Initial Pretrial and
      Scheduling Conference.

      Defendant’s Disclosure of Interested Parties will be filed before the Initial Pretrial and
      Scheduling Conference.

23.   List the names, bar numbers, addresses, email addresses, and telephone numbers of
      all counsel and unrepresented parties.

              Attorneys for Defendant
              Virginia Mixon Swindell
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                                                   Respectfully submitted,


                                                   By: /s/ H. Julian Frachtman w/permission
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                                                          ATTORNEY FOR PLAINTIFF
                                                          BRYAN TORR

                                                   AND

                                                   JACKSON LEWIS P.C.

                                                   By:      /s/ Virginia Mixon Swindell
                                                          Virginia Mixon Swindell
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                               CERTIFICATE OF SERVICE

        I hereby certify that I filed the foregoing document on September 24, 2018 with the clerk
of the Court of the United States District Court for the Southern District of Texas using the
CM/ECF system pursuant to the Court’s electronic filing requirements, which constitutes service
of the filed documents on all counsel of record as listed below:

              H. Julian Frachtman
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                                                    /s/ Virginia Mixon Swindell
                                                    Virginia Mixon Swindell




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